              Case 2:09-cr-00125-WBS Document 102 Filed 02/01/10 Page 1 of 2

 1
 2
 3
 4
 5
 6
 7
 8
                            UNITED STATES DISTRICT COURT
 9
                           EASTERN DISTRICT OF CALIFORNIA
10
                                     ----oo0oo----
11
     UNITED STATES OF AMERICA,
12                                              NO. CR. S-09-125 FCD
                  Plaintiff,
13
          v.                                    MEMORANDUM AND ORDER
14
     SARTAJ CHAHAL, et al.,
15
                  Defendants.
16
                                     ----oo0oo----
17
          On January 28, 2010, defendant Sartaj Chahal filed a “motion
18
     to disclose five pages of grand jury transcript for use in [his]
19
     motion to dismiss [the] indictment for government misconduct and
20
     mis-instruction of [the] grand jury.”1          The government responded
21
     to the motion on February 1, 2010, indicating its non-opposition
22
     to the motion, provided the court made the requisite findings.
23
     (Docket #101).
24
          In light of the government’s non-opposition and finding good
25
     cause to order limited disclosure of the subject grand jury
26
27        1
               Because oral argument will not be of material
     assistance, the court orders this matter submitted on the briefs.
28   E.D. Cal. L.R. 230(g).

                                            1
              Case 2:09-cr-00125-WBS Document 102 Filed 02/01/10 Page 2 of 2

 1   transcript, the court GRANTS defendant’s request for production
 2   of pages J-0197 to J-202,2 attached as part of Ex. A to the
 3   government’s opposition to defendant’s motion to dismiss.
 4   Disclosure of said portion of the grand jury transcript is
 5   authorized by Rule 6(e)(3)(E)(ii) of the Federal Rules of
 6   Criminal Procedure,3 and is warranted considering defendant’s
 7   showing of a “particularized need” for the transcript which
 8   “outweighs the policy of secrecy.”          United States v. Walczak, 783
 9   F.2d 852, 857 (9th Cir. 1986).
10        Accordingly, the government is ordered to produce the
11   subject portion of the transcript to defendant on or before
12   February 3, 2010 at 9:00 a.m.         Because defendant has indicated
13   his intent to use said transcript in support of his motion to
14   dismiss the indictment, the court will order the hearing on
15   defendant’s motion sealed pursuant to Rule 6(e)(5).
16        IT IS SO ORDERED.
17    DATED: February 1, 2010
18
19                                      _______________________________________
                                        FRANK C. DAMRELL, JR.
20                                      UNITED STATES DISTRICT JUDGE
21
22
23
          2
               There appears to a typographical error in defendant’s
24   instant motion, as he inconsistently references at one point, the
     entirety of the transcript, pages J-0177 to J-0202. The court
25   has construed defendant’s request as pertaining to only 5 pages
     of the transcript.
26
          3
               Said Rule provides, in pertinent part, that the court
27   has discretionary authority to order “disclosure--at any time, in
     a manner, and subject to any conditions that it directs--of a
28   grand-jury matter.”

                                            2
